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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

  NIRAV PARIKH,                                      Case No:

            Plaintiff,
                                                     COMPLAINT FOR VIOLATION OF
            v.                                       THE FEDERAL SECURITIES LAWS

   RUDOLPH TECHNOLOGIES, INC.,                       JURY TRIAL DEMANDED
   DAVID B. MILLER, JEFFREY A.
   AUKERMAN, LEO BERLINGHIERI,
   DANIEL H. BERRY, VITA CASSESE,
   THOMAS G. GREIG, III, MICHAEL P.
   PLISINSKI, and JOHN R. WHITTEN,

            Defendants.


       Plaintiff Nirav Parikh (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                 NATURE OF THE ACTION

       1.        This is an action against Rudolph Technologies, Inc. (“Rudolph” or the

“Company”) and its Board of Directors (the “Board” or the “Individual Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a) and 78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17


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C.F.R. § 240.14a-9, in connection with the proposed acquisition (the “Proposed Transaction”) of

Rudolph by Nanometrics Incorporated (“Parent”) and PV Equipment Inc. (“Merger Sub”), a

wholly owned subsidiary of Parent (Parent and Merger Sub are collectively referred to herein as

“Nanometrics”).

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, Defendants maintain offices in this District,

and/or Defendants conduct business in this District.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of Rudolph common

stock.

         7.    Defendant Rudolph designs, develops, manufactures, and supports process control

defect inspection and metrology, advanced packaging lithography, and process control software



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systems used by microelectronic device manufacturers. Rudolph is incorporated in Delaware and

maintains offices in Budd Lake, New Jersey that are used for “Corporate, Engineering and

Service.” Rudolph’s common stock trades on the New York Stock Exchange (“NYSE”) under the

ticker symbol, “RTEC.”

       8.       Defendant David B. Miller (“Miller”) is the Company’s Non-Executive Chairman

of the Board.

       9.       Defendant Jeffery A. Aukerman (“Aukerman”) is a director of the Company.

       10.      Defendant Leo Berlinghieri (“Berlinghieri”) is a director of the Company.

       11.      Defendant Daniel H. Berry (“Berry”) is a director of the Company.

       12.      Defendant Vita Cassese (“Cassese”) is a director of the Company.

       13.      Defendant Thomas G. Greig, III (“Greig”) is a director of the Company.

       14.      Defendant Michael P. Plisinski (“Plisinski”) is the Chief Executive Officer and a

director of the Company.

       15.      Defendant John R. Whitten (“Whitten”) is a director of the Company.

       16.      Defendants Miller, Aukerman, Berlinghieri, Berry, Cassese, Greig, Plisinski, and

Whitten are collectively referred to herein as the “Individual Defendants.”

       17.      Defendants Rudolph and the Individual Defendants are collectively referred to

herein as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

   A. The Proposed Transaction

       18.      On June 24, 2019, Rudolph and Nanometrics issued a press release announcing that

they had entered into a merger agreement whereby Rudolph stockholders would receive 0.8042

shares of Nanometrics common stock for each Rudolph share that they owned. According to the



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press release, current Nanometrics stockholders would own 50% and current Rudolph stockholders

would own 50% of the combined company. The press release states, in pertinent part:

           Nanometrics and Rudolph Announce Merger Agreement to Create a
                  Premier Semiconductor Process Control Company

       Complementary products and increased scale will benefit consolidated customer
                                         base

            Combination increases served available market (SAM) opportunity to
                                    approximately $3B

            Global Scale: accelerates R&D in complementary competencies while
        increasing worldwide customer presence to support leading customers – from
                     wafer fabrication through final device packaging

                 Expected to generate at least $20M of annual cost synergies

       June 24, 2019 06:00 AM Eastern Daylight Time

       MILPITAS, Calif. & WILMINGTON, Mass.--(BUSINESS WIRE)--Nanometrics
       Incorporated (NASDAQ: NANO), a leading provider of advanced process control
       metrology and software analytics, and Rudolph Technologies, Inc. (NYSE: RTEC),
       a leading provider of semiconductor process control systems, lithography
       equipment, and software for wafer fabs and advanced packaging facilities, today
       announced that they have agreed to combine in an all-stock merger of equals
       transaction. The merged company will be a premier end-to-end metrology,
       inspection, process control software, and lithography equipment provider for the
       semiconductor industry and other advanced markets.

       Under the terms of the agreement, which was unanimously approved by the Boards
       of Directors of both companies, Rudolph stockholders will receive 0.8042 shares
       of Nanometrics common stock for each Rudolph share. Upon completion of the
       merger, current Nanometrics stockholders will own approximately 50% and current
       Rudolph stockholders will own approximately 50% of the combined company.

       Rudolph CEO Michael Plisinski will serve as Chief Executive Officer and Rudolph
       CFO Steven Roth will serve as Chief Financial Officer of the combined company,
       alongside a highly experienced leadership team comprised of executives from both
       companies. The Board of Directors will be led by Nanometrics director Christopher
       Seams and will have 12 directors, consisting of six from each existing Board.

                                       *      *       *

       Timing and Approvals

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        The transaction is expected to close in the second half of 2019, subject to the
        completion of customary closing conditions, including receipt of regulatory
        approvals, and approval by the stockholders of each company.

        19.     On August 15, 2019, in connection with the Proposed Transaction, Defendants

authorized or caused the dissemination of a joint Registration Statement on Form S-4 with the SEC

(the “Registration Statement”).

    B. The Registration Statement Contains Materially False and Misleading Statements
       and Omissions

        20.     The Registration Statement, which recommends that Rudolph shareholders vote in

favor of the Proposed Transaction, omits and/or misrepresents material information concerning:

(i) Rudolph’s and Nanometrics’ financial projections; (ii) the financial analyses performed by

Rudolph’s financial advisor, Morgan Stanley & Co. LLC (“Morgan Stanley”), in connection with

its fairness opinion; and (iii) Rudolph’s insiders’ potential conflicts of interest.

        21.     The omission of the material information (referenced below) renders the following

sections of the Registration Statement false and misleading, among others: (i) Background of the

Merger; (ii) Recommendation of the Rudolph Board of Directors; Rudolph’s Reasons for the

Merger; (iii) Nanometrics Unaudited Financial Projections; (iv) Summary of the Financial

Projections by Nanometrics; (v) Rudolph Unaudited Financial Projections; (vi) Summary of the

Financial Projections by Rudolph; and (vii) Opinion of Morgan Stanley, Rudolph’s Financial

Advisor.

        22.     Unless and until the material misstatements and omissions (referenced below) are

remedied, Rudolph shareholders will be forced to make a voting decision on the Proposed

Transaction without full disclosure of all material information. In the event the Proposed




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Transaction is consummated, Plaintiff may seek to recover damages resulting from Defendants’

misconduct.

             1. Material Omissions Concerning Rudolph’s and Nanometrics’ Financial
                Projections

       23.      The Registration Statement omits material information concerning Rudolph’s and

Nanometrics’ financial projections.

       24.      The Registration Statement states that “in connection with the discussions

regarding the proposed merger, Rudolph management prepared certain unaudited prospective

financial information for fiscal years 2019 through 2021 for its board of directors, Morgan Stanley,

Barclays and Nanometrics, to which Morgan Stanley then prepared, based on discussions with and

under the guidance of Rudolph management and which were reviewed and approved by Rudolph

management for Morgan Stanley’s use in connection with its financial analysis and rendering its

opinion, extrapolations for fiscal years 2022 through 2028” (the “Rudolph Projections”). The

Registration Statement provides a table of the Rudolph Projections.

       25.      The Registration Statement, however, fails to disclose the following concerning

Rudolph’s Projections: (1) all line items used to calculate (a) Adjusted Gross Profit, (b) Adjusted

Operating Income, (c) Adjusted EBITDA, (d) Adjusted Net Income, and (e) Unlevered Free Cash

Flow; and (2) a reconciliation of all non-GAAP to GAAP metrics.

       26.      The Registration Statement states that “[i]n connection with the evaluation of the

merger, however, Nanometrics management prepared certain unaudited prospective financial

information for fiscal years 2019 through 2021 for its board of directors, Barclays, Morgan Stanley

and Rudolph” (the “Nanometrics Projections”). The Registration Statement provides a table of the

Nanometrics Projections.

       27.      The Registration Statement, however, fails to disclose the following concerning


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Nanometrics Projections: (1) all line items used to calculate (a) Non-GAAP Gross Profit, (b) Non-

GAAP Operating Income, (c) EBITDA, (d) Non-GAAP Net Income, and (e) Unlevered Free Cash

Flow; and (2) a reconciliation of all non-GAAP to GAAP metrics.

        28.    When a company discloses non-GAAP financial metrics in a Registration

Statement that was relied upon by its board in recommending that shareholders exercise their

corporate suffrage rights in a particular manner, the company must also disclose all projections

and information necessary to make the non-GAAP metrics not misleading, and must provide a

reconciliation (by schedule or other clearly understandable method) of the differences between the

non-GAAP financial metrics disclosed or released with the most comparable financial metrics

calculated and presented in accordance with GAAP. 17 C.F.R. § 244.100. The SEC has increased

its scrutiny of a company’s use of non-GAAP financial measures as such measures can be

misleading and “crowd out” more reliable GAAP information.1

        29.    The disclosure of the aforementioned financial information is material because it

would provide Rudolph shareholders with a basis to project the future financial performances of

Rudolph and Nanometrics on a stand-alone and combined basis and would allow shareholders to

understand the financial analyses performed by Morgan Stanley in support of its fairness opinion.

Shareholders cannot hope to replicate management’s inside view of the future prospects of the

Company. Without such information, which is uniquely possessed by Rudolph and its financial


1
  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited Sept. 4, 2019) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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advisor, Rudolph shareholders are unable to assess the fairness of the Proposed Transaction and

unable to determine how much weight, if any, to place on Morgan Stanley’s fairness opinion in

determining whether to vote for or against the Proposed Transaction.

       30.      Accordingly, in order to cure the materially misleading nature of Rudolph’s

Projections and Nanometrics Projections, Defendants must provide a reconciliation table of the

aforementioned non-GAAP metrics to their most comparable GAAP metrics, and disclose the line

item projections. Such projections are necessary to make the non-GAAP projections included in

the Registration Statement not misleading.

       31.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Rudolph shareholders.

             2. Material Omissions Concerning Morgan Stanley’s Financial Analyses

       32.      In connection with the Proposed Transaction, the Registration Statement omits

material information concerning analyses performed by the Company’s financial advisor, Morgan

Stanley.

       33.      With respect to Morgan Stanley’s “Public Trading Comparables Analysis,”

Morgan Stanley selected fifteen “comparable” companies in calculating the ratio of aggregate

value to EBITDA (“AV/EBITDA”) and the price to earnings per share ratio for each of the fifteen

companies. The Registration Statement, however, fails to disclose the multiples for each selected

company, or a fair summary of the calculated multiples utilized.

       34.      The Registration Statement fails to disclose the following concerning Morgan

Stanley’s “Rudolph Discounted Cash Flow Analysis”: (1) all line items used to calculate “the

stand-alone unlevered free cash flows that Rudolph was forecasted to generate during the second

half of CY 2019 and CYs 2020 through 2028”; (2) the terminal values of Rudolph at the end of



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the forecast period; (3) the individual inputs and assumptions underlying the (i) discount rates

ranging from 8.6% to 9.6%, and (ii) perpetual growth rates ranging from 1.0% to 3.0%; and (4)

Rudolph’s estimated net cash as of June 30, 2019.

           35.   The Registration Statement fails to disclose the following concerning Morgan

Stanley’s “Nanometrics Discounted Cash Flow Analysis”: (1) all line items used to calculate “the

stand-alone unlevered free cash flows that Nanometrics was forecasted to generate during the

second half of CY 2019 and CYs 2020 through 2028”; (2) the terminal values of Nanometrics at

the end of the forecast period; (3) the individual inputs and assumptions underlying the (i) discount

rates ranging from 9.1% to 10.1%, and (ii) perpetual growth rates ranging from 2.0% to 4.0%; and

(4) Nanometrics’ estimated net cash as of June 30, 2019.

           36.   With respect to Morgan Stanley’s “Exchange Ratio Implied by Discounted Cash

Flow Analysis,” the Registration Statement fails to disclose Rudolph’s and Nanometrics’ fully

diluted shares outstanding including equity awards as of June 20, 2019.

           37.   The Registration Statement fails to disclose the following concerning Morgan

Stanley’s “Relative Research Analysts’ Future Price Targets”: (1) the price targets for Rudolph

and Nanometrics observed by Morgan Stanley in its analysis; and (2) the sources of those price

targets.

           38.   The valuation methods, underlying assumptions, and key inputs used by Morgan

Stanley in rendering its purported fairness opinion must be fairly disclosed to Rudolph

shareholders. The description of Morgan Stanley’s fairness opinion and analyses, however, fails

to include key inputs and assumptions underlying those analyses. Without the information

described above, Rudolph shareholders are unable to fully understand Morgan Stanley’s fairness

opinion and analyses, and are thus unable to determine how much weight, if any, to place on it in



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determining whether to vote for or against the Proposed Transaction. This omitted information, if

disclosed, would significantly alter the total mix of information available to Rudolph shareholders.

   3. Material Omissions Concerning Company Insiders’ Potential Conflicts of Interest

       39.     The Registration Statement omits material information concerning potential

conflicts of interest involving Company insiders.

       40.     The Registration Statement states that, upon consummation of the Proposed

Transaction, Defendant “Michael P. Plisinki, chief executive officer [and a director] of Rudolph .

. . will be the chief executive officer of the combined company[,]” and that Defendants Aukerman,

Berlinghieri, Cassese, Miller, Plisinski, and Whitten will become directors of the combined

company.

       41.     The Registration Statement, however, fails to disclose the details of all

employment-related discussions and negotiations concerning the Company’s officers and

directors, including the parties to such communications, when they occurred, and the specific

content discussed/communicated. Specifically, the Registration Statement fails to disclose

pertinent information concerning Defendant Plisinski being considered to become the chief

executive officer of the combined company, and information concerning Defendants Aukerman,

Berlinghieri, Cassese, Miller, Plisinski, and Whitten being considered to be appointed to the board

of the combined company.

       42.     Any communications regarding post-transaction employment during the

negotiation of the underlying transaction must be disclosed to shareholders. This information is

necessary for shareholders to understand potential conflicts of interest of management and the

Board. Such information may illuminate the motivations that would prevent fiduciaries from acting

solely in the best interests of the Company’s shareholders.



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        52. The above-referenced omitted information, if disclosed, would significantly alter the

total mix of information available to Rudolph shareholders.

                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        49.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        50.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Registration Statement specified

above, which failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading, in violation of Section

14(a) of the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

        51.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Registration Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Registration Statement.

        52.     The false and misleading statements and omissions in the Registration Statement

are material in that a reasonable shareholder would consider them important in deciding how to

vote on the Proposed Transaction.

        53.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

        54.     Because of the false and misleading statements and omissions in the Registration

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Statement, Plaintiff is threatened with irreparable harm.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       55.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       56.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions

as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement filed with the SEC, they had the power to and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the false and misleading Registration Statement.

       57.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected. As officers and/or directors of a publicly

owned company, the Individual Defendants had a duty to disseminate accurate and truthful

information with respect to the Registration Statement, and to correct promptly any public

statements issued by the Company which were or had become materially false or misleading.

       58.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with and/or had



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unlimited access to copies of the Registration Statement and had the ability to prevent the issuance

of the statements or to cause the statements to be corrected. The Registration Statement at issue

contains the unanimous recommendation of the Individual Defendants to approve the Proposed

Transaction. Thus, the Individual Defendants were directly involved in the making of the

Registration Statement.

       59.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Proposed Transaction. The Registration Statement purports to describe the various issues and

information that they reviewed and considered—descriptions which had input from the Individual

Defendants.

       60.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       61.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and




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any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: September 4, 2019                            Respectfully submitted,

                                                    HALPER SADEH LLP

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                                                    Counsel for Plaintiff




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